eH Case 1:10-cr:00567-HG Document 97-2

_ Haunii State
Fedeval Credit Union
PO. Box 3072
Honolulu, HI 96802-3072

Filed 08/30/12 Page 1of5

Open-End Plan
Signatures PLUS

BORROWER 1 NAME BRANDON C HALEAMAU

ACCOUNT NUMBER

ACCOUNT NUMBER

This LOANLINER Credit and Security Agreement, which
includes the Truth in Lending Disclosures, will be referred to
as "the Plan.” The Plan documents include this agreement
and an Addendum. "You", “your" and "borrower" mean any
péfson who signs the Plan. "Credit union", "we", “our” and
"us" mean the Credit Union whose name appears on the
Plan or anyone to whom the Credit Union transfers its rights
under the Plan. This is a multi-state document which may be
used to lend to borrowers in all states except Louisiana.

1. HOW THIS PLAN WORKS -- This is an open-end,
multi-featured credit plan. We anticipate that, from time to
time, you will borrow money (called “advances") under the
Plan. We are not required to make advances to you under
the Plan and can refuse a request for an advance at any
time. The Addendum describes the different types of credit
(called "subaccounts") available under the Plan, the current
interest rate for each subaccount expressed as a daily
periodic rate and corresponding annual percentage rate and
other charges. It may also have other terms and a schedule
for determining the payment amounts.

2. CREDIT LIMIT -- We may, but do not have to, establish
a credit limit on certain subaccounts. If a credit limit is set
for a subaccount, you promise not to exceed the established
credit limit. If you exceed the credit limit, you promise to
repay immediately the amount which exceeds the credit
imit.

3. REPAYMENT -- You promise to repay all amounts you
owe under the Plan plus interest. Payments are due on the
last day of the month unless we set a different day at the
time of an advance. If the Addendum has no payment
schedule for a subaccount, your payment will be determined
at the time of each advance. Payments must include any
amount past due and any amount by which you have
exceeded any credit limit you have been given for a
subaccount. You may repay all or part of what you owe at
any time without any prepayment penalty. Even if you
prepay, you will still be required to make the regularly
scheduled payments unless we agree in writing to a change
in the payment schedule. If you have a joint sharedraft
account, you will be responsible for paying all overdraft

advances obtained by a joint holder of the sharedraft
account. Unless otherwise required by law, payments will
be applied to amounts owed under the Plan, in the manner
the Credit Union chooses.

4. PLAN ACCESS -- You can obtain credit advances in any
manner authorized by us. If we allow you to use your
ATM/Debit card to access the Plan, you may be liable for
the unauthorized use of your ATM/Debit card. You will not
be liable for unauthorized use that occurs after you notify
us, orally or in writing, of the loss, theft, or possible
unauthorized use. If you believe your ATM/Debit card has
been lost or stolen, immediately inform the Credit Union by
calling or writing us at the telephone number or address
that appears elsewhere in the Plan. If the card is used to
obtain unauthorized advances directly from the Plan, your
liability will not exceed $50.00. If the unauthorized
withdrawal is from a sharedraft account, your liability is
governed by the Regulation E disclosures you received at
the time you received your ATM/Debit card, even if the
withdrawal results in an advance being made from your
overdraft subaccount.

5. FINANCE CHARGE -- The dollar amount you pay for
money borrowed is called a “finance charge" and begins on
the date of each advance. A finance charge will be
computed separately for each separate balance under the
Plan. To compute the finance charge, the unpaid balance
for each day since your last payment (or since an advance
if you have not yet made a payment) is multiplied by the
applicable daily periodic rate. The sum of these amounts is
the finance charge owed. The balance used to compute the
finance charge is the unpaid balance each day after
payments and credits to that balance have been subtracted
and any additions to the balance have been made. In
addition to interest, we may charge other finance charges
which are disclosed on the Addendum. If the interest rate is
a variable interest rate, the Addendum explains how the
variable interest rate works.

6. SECURITY -- You pledge as security for the Plan all
shares and dividends and, if any, all deposits and interest in

(continued on next page)

1. You have received and read the LOANLINER Credit and
Security Agreement including the Addendum ("Agreement")
and a Credit Insurance Certificate. By signing below you
agree to be bound by the terms of the Agreement.

2. You grant us a security interest in all individual and joint
share and/or deposit accounts you have with us now and in
the future to secure what you owe under the LOANLINER

Credit and Security Agreement. When you are in default,
you authorize us to apply the balance in these accounts to
any amounts due. Shares and deposits in an Individual
Retirement Account, and any other account that would lose
special tax treatment under state or federal law if given as
security, are not subject to the security interest you have
given in your shares and deposits.

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BORROWER 1 SIGNATURE DATE

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Date 12/02/2002

all joint and individual accounts you have with us now and
in the future. If a specific dollar amount is pledged for an
advance, we will freeze shares in that account to the extent
of the outstanding balance for the advance. Otherwise, your
pledged shares may be withdrawn unless you are in default.
If credit union has a federal charter: Statutory Lien -- If you
are in default on a financial obligation to us, federal law
gives us the right to apply the balance of shares and
dividends in all individual and joint accounts you have with
us to satisfy that obligation. After you are in default, we
may exercise this right without further notice to you. (We
have a federal charter if our name includes the term
"Federal Credit Union.") If credit union is state chartered,
except in Ohio, Rhode Island, and Massachusetts: We have
a statutory lien on the shares and dividends and, if any, the
deposits and interest in all individual and joint accounts you
have with us and may exercise our rights under the lien to
the extent permitted by state law. (We are state chartered if
our name does not include the term "Federal Credit Union.")
For all borrowers: The statutory lien and/or your pledge will
allow us to apply the funds in your account(s) to what you
owe when you are in default. The statutory lien and your
pledge do not apply to any Individual Retirement Account or
any other account that would lose special tax treatment
under state or federal law if given as security.

Additional security for the Plan may be required at the time
of an advance. If a subaccount identifies a type of property
(such as "New Cars") you must give that type of property
as security when you get an advance under that
subaccount. A subaccount name such as “Other Secured"
means you must provide security acceptable to us when
you obtain an advance under that subaccount. Property you
give as security will secure all amounts owed under the
Plan and all other loans you have with us now or in the
future, except any loan secured by your principal dwelling.
Property securing other loans you have with us may also
secure the Plan.

7. CREDIT INSURANCE -- Credit life and/or credit disability
insurance is optional under the Plan. If you qualify for and
purchase the insurance from us, you authorize us to add the
insurance premiums monthly to your loan balance and
charge you interest on the entire balance. If you elect credit
insurance, your payments may increase or the period of
time necessary to repay your advance may be extended.
The credit- insurance rates may change during the Plan. If
the rates change, we will provide any notices required by
applicable law.

8. PERIODIC STATEMENT -- On a regular basis you will
receive a statement showing all transactions under the Plan
during the period covered by the statement. Statements and
notices will be sent to you at the most recent address you
have given us in writing. Unless applicable law requires
notice to each joint borrower, notice to any one of you will
be notice to all.

9. JOINT ACCOUNTS -- If this is a joint account, each of
you is individually and jointly responsible for paying all
amounts owed. That means we can enforce our rights
under the Plan against any one of you individually or against
all of you together. If you give us inconsistent instructions,
we can refuse to follow your instructions. Untess our
written policy requires all of you to sign for an advance,
each of you authorizes the other(s) to obtain advances
individually and agrees to repay advances made to the
other(s). Any joint accountholder may terminate the Plan by
giving us prior written notice. If any of you terminate the

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Plan, the Plan is terminated for all of you. You remain liable
individually and jointly for all advances incurred before
termination.

10.FEES AND CHARGES -- If you give us a security
interest in certain types of property, we may charge you a
filing fee to perfect our interest in the property. If we do,
the amount of the fee will be disclosed to you at the time
you obtain an advance. We may also charge you other fees
in connection with the Plan. Our current fees are disclosed
on the Addendum and will be added to your loan balance
unless you pay them in cash.

11: UPDATING CREDIT INFORMATION -- You promise that
you will promptly give us written notice if you move,
change your name or employment, or if any other
information you provided to us changes. Upon our request,
you also agree to provide us updated financial information.

12.DEFAULT -- The following paragraph applies to
borrowers in Idaho, Kansas, Maine and state chartered
credit unions lending to South Carolina borrowers: You will

be in default if you do not make a payment of the amount
required when it is due. You will also be in default if we
believe the prospect of payment, performance, or
realization on any property given as security is significantly
impaired.

The following paragraph applies only to borrowers in
Wisconsin: You will be in default if you fail to make a
payment when due two times during any 12 month period.
You will be in default if breaking any promise made under
the Plan materially impairs your ability to repay what you
owe or materially impairs the condition, value, or protection
of or our right in any property you gave as security.

The following paragraph applies only to borrowers in lowa:
You will be in default if you are more than 10 days late in
making a payment. You will also be in default if you do not
comply with the terms of the Plan and your failure to
comply materially impairs any property you gave as security
or your ability to repay what you owe under the Plan.

The following paragraph applies to borrowers in all other
states and federally chartered credit unions lending to
South Carolina borrowers: You will be in default if you do
not make a payment of the amount required when it is due.
You will be in default if you break any promise you made
under the Plan or if anyone is in default under any security
agreement made in connection with an advance under the
Plan. You will be in default if you die, file for bankruptcy,
become insolvent, if you make any false or misleading
statements in any credit application or update of credit
information, or if something happens we believe may
substantially reduce your ability to repay what you owe.
You will also be in default under the Plan if you are in
default under any other loan agreement with us.

13. ACTIONS AFTER DEFAULT -- The following paragraph
applies to borrowers in Colorado, District of Columbia,
lowa, Kansas, Maine, Massachusetts, Missouri, Nebraska,
West Virginia and state chartered credit unions lending to
South Carolina borrowers: When you are in default and
after expiration of any right you have under applicable state
law to cure your default, we can demand immediate
payment of the entire unpaid balance under the Plan
without giving you advance notice.

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The following paragraphs apply to borrowers in alf states
except Wisconsin: \f immediate payment is demanded, you
will continue to pay interest until what you owe has been
repaid at the applicable interest rates in effect or, if
applicable, at the default rate disclosed on the Addendum.
if a demand for immediate payment has been made, your
shares and/or deposits can be applied towards what you
owe as provided in the section above called "Security". We
can also exercise any other rights given by law when you
are in default.

_You agree the Credit Union has the right to take possession
of any property given as security under the Plan, without
judicial process, if this can be done without breach of the
peace. If we ask, you promise to deliver the property at a
time and place we choose. We will not be responsible for
any other property, not covered by this Agreement, that
you leave inside the property or that is attached to the
property. We will try to return that property to you or make
it available to you to claim.

- After we have possession of the property, we can sell it
and apply the money to any amounts you owe us. We will
give you notice of any public sale or the date after which a
private sale will be held. Our expenses for taking
possession of and selling the property will be deducted from
the money received from the sale. Those costs may include
the cost of storing the property, preparing it for sale and
attorney's fees to the extent permitted under state law or
awarded under the Bankruptcy Code. The rest of the sale
money will be applied to what you owe under the Plan.

- You will also have to pay any amount that remains unpaid
after the sale money has been applied to any unpaid
balance under the Plan. You agree to pay interest on that
amount at the same rate as the advance, or, if applicable, at
the default rate disclosed on the Addendum, until that
amount has been paid.

The following paragraph applies only to Wisconsin
borrowers: When you are in default and after expiration of
any right you have under applicable state law to cure your
default, we may require immediate payment of your out-
standing loan balance under the Plan and seek possession
of property given as security. You may voluntarily give the
property to us if you choose, or we may seek to take
possession of the property by judicial process. If we
repossess the property, you agree to pay reasonable
expenses incurred in disposing of the property. lf the
property is a motor vehicle, mobile home, trailer, snow-
mobile, boat or aircraft, you will also be required to pay any
costs permitted by Section 422.413 of the Wisconsin
Statutes.

14,CANCELLING OR CHANGING THE PLAN -- The
following paragraph applies only to state chartered credit
unions lending to Illinois borrowers: We have the right to
change the terms of the Plan from time to time after giving
you any advance notice required by law. Any change to the
interest rate or other charges will apply to future advances.

The following paragraph applies only to borrowers in
Wisconsin: We can change the terms of the Plan from time

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to time in accordance with Section 422.415 of the
Wisconsin Statutes. You will be notified of any change in
terms. An increase in the daily periodic rate under a
variable rate interest rate is not considered a change in
terms under the Plan. We can cancel the entire Plan or any
part of the Plan at any time. You may cancel the Plan at
any time by giving us prior written notice. Your obligation
to pay the unpaid balances under the terms of the Plan
continues whether you or the credit union cancel the Plan,
except to the extent that your liability is limited by Section
422.4155 of the Wisconsin Statutes.

The following paragraph applies only to borrowers in lowa:
We can change the terms of the Plan from time to time
after giving you any advance notice required by law. A
change that increases the rate of finance charge or other
charge, that increases the amount of your payments, or
that otherwise adversely affects existing balances will apply
to existing balances only if you agree to the change or you
use the Plan after receiving notice that your use of the Plan
means you agree the change applies to existing balances.

The following paragraph applies to borrowers in all other
states and federally chartered credit unions lending to
Illinois borrowers: \Ne have the right to change the terms of
the Plan from time to time after giving you any advance
notice required by law. Any change in the interest rate will
apply to future advances, and at our discretion and subject
to any requirements of applicable law, will also apply to
unpaid balances.

The following paragraph applies to all but Wisconsin
borrowers: An increase in the daily periodic rate under a
variable interest rate is not considered a change in terms
under the Plan. We can cancel the entire Plan or any part of
the Plan at any time. You may cancel the Plan at any time
by giving us prior written notice. Your obligation to pay the
unpaid balances under the terms of the Plan continues
whether you or the Credit Union cancel the Plan.

Paragraphs 15 through 23 apply to any property you give
as security.

15. THE SECURITY FOR THE PLAN -- You give us what is
known as a security interest in all property described in any
receipt, voucher or other document you receive for an
advance ("the Advance"). The security interest you give
includes all accessions. Accessions are things which are
attached to or installed in the property now or in the future.
The security interest also includes any replacements for the
property which you buy within 10 days of the Advance or
any extensions, renewals or refinancing of the Advance. It
also includes any money you receive from selling the
property or from insurance you have on the property. If the
value of the property declines, you promise to give us more
property as security if asked to do so.

16. WHAT THE SECURITY INTEREST COVERS -- The
security interest secures the Advance described in the
receipt, voucher or any other document you receive at the
time of the Advance and any extensions, renewals or
refinancings of the Advance. It also secures any other
advances you have now or receive in the future under the
Plan and any other amounts or loans, including any credit
card loan, you owe us for any reason now or in the future,
except any loan secured by your principal residence. If the
property is household goods as defined by the Federal
Trade Commission Credit Practices Rule, the property will
secure only the Advance and not other amounts you owe.

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17. OWNERSHIP OF THE PROPERTY -- You promise that
you own all property you give as security or if the Advance
is to buy the property, you promise you will use the
Advance for that purpose. You promise that no one else
has any interest in or claim against the property that you
have not already told us about. You promise not to sell or
lease the property or to use it as security for a loan with
another creditor until the Advance is repaid. You promise
you will allow no other security interest or lien to attach to
the property either by your actions or by operation of law.

18.PROPERTY INSURANCE, TAXES AND FEES -- You
must maintain property insurance on all property that you
give as security under the Plan. You may purchase the
property insurance from anyone you choose who _ is
acceptable to the Credit Union. The amount and coverage
of the property insurance must be acceptable to us. You
may provide the property insurance through a policy you
already have, or through a policy you get and pay for. You
promise to make the insurance policy payable to us and to
deliver the policy or proof of coverage to us if asked to do
so.

If you cancel your insurance and get a refund, we have a
right to the refund. If the property is lost or damaged, we
can use the insurance settlement to repair the property or
apply it towards what you owe. You authorize us to
endorse any draft or check which may be payable to you in
order for us to collect any refund or benefits due under
your insurance policy. You also promise to pay all taxes
and fees (like registration fees) due on the property.

If you do not pay the taxes or fees on the property when
due or keep it insured, we may pay these obligations, but
we are not required to do so. Any money we spend for
taxes, fees or insurance will be added to the unpaid balance
of the advance and you will pay interest on those amounts
at the same rate you agreed to pay on the advance. We
may receive payments in connection with the insurance
from: a company which provides the insurance. We may
monitor our loans for the purpose of determining whether
you and other borrowers have complied with the insurance
requirements of our loan agreements or may engage others
to do so. The insurance charge added to an advance may
include (1) the insurance company’s payments to us and
(2) the cost of determining compliance with the insurance
requirements. If we add amounts for taxes, fees or
insurance to the unpaid balance of an advance, we may
increase your payments to pay the amount added within
the term of the insurance or approximate term of the
advance.

19. NOTICE -- If you do not purchase the required property
insurance, the insurance we may purchase and charge you
for will cover only our interest in the property. The
insurance will not be liability insurance and will not satisfy
any state financial responsibility or no fault laws.

20. PROTECTING THE SECURITY INTEREST -- If your state
issues a title for the property, you promise to have our

security interest shown on the title. We may have to \
what is called a financing statement to protect our securit,
interest from the claims of others. If asked to do so, you
promise to sign a financing statement. You promise to do
whatever else we think is necessary to protect our
security interest in the property. You promise to pay all
costs, including but not limited to any attorney fees, we
incur in protecting our security interest and rights in the
property, to the extent permitted by applicable law.

21. USE OF PROPERTY -- Until the Advance has been paid
off, you promise you will: (1) Use the property carefully and
keep it in good repair. (2) Obtain our written permission
before making major changes to the property or changing
the address where the property is kept. (3) Inform us in
writing before changing your address. (4) Allow us to
inspect the property. (5) Promptly notify us if the property
is damaged, stolen or abused. (6) Not use the property for
any unlawful purpose.

22.NOTICE TO NORTH DAKOTA _ BORROWERS
PURCHASING A MOTOR VEHICLE -- THE MOTOR VEHICLE
IN THIS TRANSACTION MAY BE SUBJECT TO REPOS-
SESSION. IF IT IS REPOSSESSED AND SOLD TO SOME-
ONE ELSE, AND ALL AMOUNTS DUE TO THE SECURED
PARTY ARE NOT RECEIVED IN THAT SALE, YOU MAY
HAVE TO PAY THE DIFFERENCE.

23. NOTICE FOR ARIZONA OWNERS OF PROPERTY -- It is
unlawful for you to fail to return a motor vehicle that is
subject to a security interest, within thirty days after you
have received notice of default. The notice will be mailed to
the address you gave us. It is your responsibility to notify
us if your address changes. The maximum penalty for
unlawful failure to return a motor vehicle is one year in
prison and/or a fine of $150,000.

24, DELAY IN ENFORCING RIGHTS AND CHANGES IN THE
PLAN -- We can delay enforcing any of our rights under this
Plan any number of times without losing the ability to
exercise our rights later. We can enforce this Plan against
your heirs or legal representatives. lf we change the terms
of the Plan, you agree that this Plan will continue to protect
us.

25. CONTINUED EFFECTIVENESS -- If any part of this Plan
is determined by a court to be unenforceable, the rest will
remain in effect.

26. NOTICE TO UTAH BORROWERS -- This written agree-
ment is a final expression of the agreement between you
and the Credit Union. This written agreement may not be
contradicted by evidence of any oral agreement.

27. The following is required by Vermont law -- NOTICE TO
CO-SIGNER -- YOUR SIGNATURE ON THIS NOTE MEANS
THAT YOU ARE EQUALLY LIABLE FOR REPAYMENT OF
THIS LOAN. IF THE BORROWER DOES NOT PAY, THE
LENDER HAS A LEGAL RIGHT TO COLLECT FROM YOU.

DATE APPROVED APPROVED SIGNATURE

LIMITS:
DENIED
(Adverse Action Notice Sent) §

DEBT RATIO/SCORE
BEFORE AFTER

LOAN OFFICER COMMENTS:

SIGNATURES:

DATE

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DATE

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17. OWNERSHIP OF THE PROPERTY -- You promise that
you own all property you give as security or if the Advance
is to buy the property, you promise you will use the
Advance for that purpose. You promise that no one else
has any interest in or claim against the property that you
have not already told us about. You promise not to sell or
lease the property or to use it as security for a loan with
another creditor until the Advance is repaid. You promise
you will allow no other security interest or lien to attach to
the property either by your actions or by operation of law.

18. PROPERTY INSURANCE, TAXES AND FEES -- You
must maintain property insurance on all property that you
give as security under the Plan. You may purchase the
property insurance from anyone you choose who_ is
acceptable to the Credit Union. The amount and coverage
of the property insurance must be acceptable to us. You
may provide the property insurance through a policy you
already have, or through a policy you get and pay for. You
promise to make the insurance policy payable to us and to
deliver the policy or proof of coverage to us if asked to do
so.

If you cancel your insurance and get a refund, we have a
right to the refund. If the property is lost or damaged, we
can use the insurance settlement to repair the property or
apply it towards what you owe. You authorize us to
endorse any draft or check which may be payable to you in
order for us to collect any refund or benefits due under
your insurance policy. You also promise to pay all taxes
and fees (like registration fees) due on the property.

If you do not pay the taxes or fees on the property when
due or keep it insured, we may pay these obligations, but
we are not required to do so. Any money we spend for
taxes, fees or insurance will be added to the unpaid balance
of the advance and you will pay interest on those amounts
at the same rate you agreed to pay on the advance. We
may receive payments in connection with the insurance
from: a company which provides the insurance. We may
monitor our loans for the purpose of determining whether
you and other borrowers have complied with the insurance
requirements of our foan agreements or may engage others
to do so. The insurance charge added to an advance may
include (1) the insurance company’s payments to us and
(2) the cost of determining compliance with the insurance
requirements. lf we add amounts for taxes, fees or
insurance to the unpaid balance of an advance, we may
increase your payments to pay the amount added within
the term of the insurance or approximate term of the
advance.

19. NOTICE -- If you do not purchase the required property
insurance, the insurance we may purchase and charge you
for will cover only our interest in the property. The
‘insurance will not be liability insurance and will not satisfy
any state financial responsibility or no fault laws.

20. PROTECTING THE SECURITY INTEREST -- If your state
issues a title for the property, you promise to have our

security interest shown on the title. We may have to file
what is called a financing statement to protect our security
interest from the claims of others. If asked to do so, you
promise to sign a financing statement. You promise to do
whatever else we think is necessary to protect our
security interest in the property. You promise to pay all
costs, including but not limited to any attorney fees, we
incur in protecting our security interest and rights in the
property, to the extent permitted by applicable law.

21.USE OF PROPERTY -- Until the Advance has been paid
off, you promise you will: (1) Use the property carefully and
keep it in good repair. (2) Obtain our written permission
before making major changes to the property or changing
the address where the property is kept. (3) Inform us in
writing before changing your address. (4) Allow us to
inspect the property. (5) Promptly notify us if the property
is damaged, stolen or abused. (6) Not use the property for
any unlawful purpose.

22.NOTICE TO NORTH DAKOTA BORROWERS
PURCHASING A MOTOR VEHICLE -- THE MOTOR VEHICLE
IN THIS TRANSACTION MAY BE SUBJECT TO REPOS-
SESSION. IF IT IS REPOSSESSED AND SOLD TO SOME-
ONE ELSE, AND ALL AMOUNTS DUE TO THE SECURED
PARTY ARE NOT RECEIVED IN THAT SALE, YOU MAY
HAVE TO PAY THE DIFFERENCE.

23. NOTICE FOR ARIZONA OWNERS OF PROPERTY -- It is
unlawful for you to fail to return a motor vehicle that is
subject to a security interest, within thirty days after you
have received notice of default. The notice will be mailed to
the address you gave us. It is your responsibility to notify
us if your address changes. The maximum penalty for
unlawful failure to return a motor vehicle is one year in
prison and/or a fine of $150,000.

24, DELAY IN ENFORCING RIGHTS AND CHANGES IN THE
PLAN -- We can delay enforcing any of our rights under this
Plan any number of times without losing the ability to
exercise our rights later. We can enforce this Plan against
your heirs or legal representatives. If we change the terms
of the Plan, you agree that this Plan will continue to protect
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25. CONTINUED EFFECTIVENESS -- If any part of this Plan
is determined by a court to be unenforceable, the rest will
remain in effect.

26. NOTICE TO UTAH BORROWERS -- This written agree-
ment is a final expression of the agreement between you
and the Credit Union. This written agreement may not be
contradicted by evidence of any oral agreement.

27. The following is required by Vermont law -- NOTICE TO
CO-SIGNER -- YOUR SIGNATURE ON THiS NOTE MEANS
THAT YOU ARE EQUALLY LIABLE FOR REPAYMENT OF
THIS LOAN. IF THE BORROWER DOES NOT PAY, THE
LENDER HAS A LEGAL RIGHT TO COLLECT FROM YOU.

DATE APPROVED APPROVED SIGNATURE
LIMITS:

DENIED
(Advarse Action Notice Sent) §

OTHER RATIO/SC
BEFORE AFTER

LOAN OFFICER COMMENTS:

SIGNATURES:
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DATE

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